                                 UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TENNESSEE
                                         AT KNOXVILLE


KEVIN FADDIS,                                       *
                                                    *
               Plaintiff,                           *
                                                    *
vs.                                                 *       Case No. 3:09-cv-193
                                                    *       (R. Leon Jordan, Judge,
WESTFIELD INSURANCE                                 *       C. Clifford Shirley,
GROUP,                                              *       Magistrate Judge)
                                                    *
               Defendant.                           *       (Jury Demand)



                                 PARTIAL MOTION TO DISMISS



         Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant Westfield

Insurance Group (“Defendant”) respectfully moves this Court for an Order dismissing the punitive

damages claim against it on grounds that the Plaintiff’s Complaint (Doc. 1-1) fails to state a valid claim

for punitive damages against it as a matter of law The basis for this Motion is fully set forth in the

Memorandum in Support.

                                             Respectfully submitted,

                                             WESTFIELD INSURANCE GROUP


                                             By:    s/S. Morris Hadden
                                                    S. Morris Hadden (BPR #000747)
                                                    Counsel for Defendant
                                                    HUNTER, SMITH & DAVIS, LLP
                                                    1212 North Eastman Road
                                                    P. O. Box 3740
                                                    Kingsport, TN 37664
                                                    (423) 378-8820; Fax: (423) 378-8801




      Case 3:09-cv-00193-RLJ-CCS Document 5 Filed 05/08/09 Page 1 of 2 PageID #: 27
                                     CERTIFICATE OF SERVICE


        I hereby certify that on May 8, 2009, a copy of the foregoing Partial Motion to Dismiss was
filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system
to all parties indicated on the electronic filing receipt. All other parties will be served by regular U. S.
Mail. Parties may access this filing through the Court’s electronic filing system.

       Arthur F. Knight, III, Esq.
       BECKER, FLEISHMAN & KNIGHT, P.C.
       Post Office Box 1710
       Knoxville, TN 37901


                                          s/S. Morris Hadden
                                    S. Morris Hadden (BPR #000747)
                                  HUNTER, SMITH & DAVIS, LLP
                                        1212 North Eastman Road
                                             P. O. Box 3740
                                          Kingsport, TN 37664
                                  (423) 378-8820; Fax: (423) 378-8801




                                                     2



   Case 3:09-cv-00193-RLJ-CCS Document 5 Filed 05/08/09 Page 2 of 2 PageID #: 28
